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F;li.:`;="l f'."." _ , d ,,,_ [J.C.
IN 'I'HE UNITED STATES DISTRICT COURT

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FOR THE WESTERN DISTRICT OF T SS 05 AU§’; 214 PH 12 37

WES'I`ERN DIVISION

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ASAD EL-AMIN IVIUJIHADEEN ,
Plaintiff,
Vs. No. 03-2044-D/An

'I'EN'NESSEE BOARD OF PROBATION
AND PAROLES, et al.,

Defendants.

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oRDER GRANTING PLAINTIFF's MOTIONS FOR LEAVE To
FILE REPLY BRIEFS (#66)
AND
0RDER DENYING PLAINTIFF's MOTIONS FOR sUMMARY JUDGME:NT(#=.FS)

 

On November 15, 2004, plaintiff Asad El-Amin Mujihadeen,
a/k/a Ronald Turks, Tennessee Department of Correction (“TDOC”)
prisoner‘ number 86217, an inmate at the West Tennessee State
Penitentiary (“WTSP”) in Henning, Tennessee, filed.a motion seeking
summary judgment on his claims that the defendants discriminate in
their parole decisions on the basis of race and in favor of inmates
whose death sentences were commuted to life imprisonment for
reasons having no bearing on the inmate's culpability, accompanied
by a legal memorandum and his own factual affidavit. Defendants

filed a response in opposition to the summary judgment motion on

mjmpzandum, the affidav't

December 16, 2004, accompanied by lega

    
 
 
 
 

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with mile 58 and!or ?Q(a) FRCP on

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of C. Edward Scudder, General Counsel of the Board of Probation and
Parole, and a document entitled “Defendants' Response to
Plaintiff’s Affidavit in Support of Motion for Summary Judgment.”
On December 27, 2004, plaintiff filed a document, entitled “Motion
to Traverse Defendants' Response to Plaintiff’s Motion for Summary
Judgment,” which the Court CONSTRUES as a motion for leave to file
a reply brief in further support of his summary judgment motion.
Finally, on December 28, 2004, plaintiff filed a document, entitled
“Motion to Amend Plaintiff's Motion to Traverse Defendants’
Response to Plaintiff's Motion for Summary Judgment,” which the
Court CONSTRUES as a second motion for leave to file a reply brief
in further support of his summary judgment motion.1
Summary judgment is appropriate “if . . . there is no

genuine issue as to any material fact and . . . the moving party is
entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). As
the Supreme Court explained:

In our view, the plain language of Rule 56(c) mandates

the entry of summary judgment, after adequate time for

discovery and upon motion, against a party who fails to

make a showing sufficient to establish the existence of

an element essential to that party's case, and on which

that party will bear the burden of proof at trial. In

such a situation, there can be “no genuine issue as to

any material fact,” since a complete failure of proof

concerning an essential element of the nonmoving party’s

case necessarily renders all other facts immaterial. The

moving party is “entitled to judgment as a matter of law”
because the nonmoving party has failed to make a

 

1 The Court will exercise its discretion to consider both of the

replies filed by the plaintiff.

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sufficient showing on an essential element of [his] case
with respect to which [he] has the burden of proof.
Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986) (citation
omitted).

Under Fed. R. Civ. P. 56(e), “[w]hen a motion for summary
judgment is made and supported as provided in this rule, an adverse
party may not rest upon the mere allegations or denials of the
adverse party’s pleading, but the adverse party's response, by
affidavits or as otherwise provided in this rule, must set forth
specific facts showing that there is a genuine issue for trial.” In
considering a motion for summary judgment, “the evidence as well as
the inferences drawn therefrom must be read in the light nmst

favorable to the party opposing the motion.” Kochins v. Linden-

 

Alimakl Inc., 799 F.2d 1128, 1133 (6th Cir. 1986); see also
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
587-88 (1986) (same).2

A genuine issue of material fact exists “if the evidence
[presented by the non-moving party] is such that a reasonable jury

could return a verdict for the non~moving party.” Anderson v.

 

2 Rule 56(e) sets forth in detail the evidentiary requirements
applicable to a summary judgment motions

Supporting and opposing affidavits shall be made on personal
knowledge, shall set forth such facts as would be admissible in
evidence, and shall show affirmatively that the affiant is competent
to testify as to all the matters stated therein. Sworn or certified
copies of all papers or parts thereof referred to in an affidavit
shall be attached thereto or served therewith. The court may permit
affidavits to be supplemented or opposed by depositions, answers to
interrogatories, or further affidavits.

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Libertv Lobbv. Inc., 477 U.S. 242, 248 (1986); §§§_al§g ic_l4 at 252
(“The mere existence of a scintilla of evidence in support of the
plaintiff's position will be insufficient; there must be evidence
on which the jury could reasonably find for the plaintiff. The
judge’s inquiry, therefore, unavoidably asks whether reasonable
jurors could find by a preponderance of the evidence that the
plaintiff is entitled to a verdict[.]”); Matsushita, 475 U.S. at
586 (“When the moving party has carried its burden under Rule
56(c), its opponent must do more than simply show that there is
some metaphysical doubt as to the material facts.”) (footnote
omitted). The Court’s function is not to weigh the evidence, judge
credibility, or in any way determine the truth of the matter,
however. Liberty Lobby, 477 U.S. at 249. Rather, the inquiry is
“whether the evidence presents a sufficient disagreement to require
submission to a jury or whether it is so one-sided that one party
must prevail as a matter of law.” Id. at 251-52.
Moreover, Fed. R. Civ. P. 56(f) provides as follows:
Should it appear from the affidavits of a party

opposing the motion [for summary judgment] that the party

cannot for reasons stated present by affidavit facts

essential to justify the party's opposition, the court

may refuse the application for judgment or may order a

continuance to permit affidavits to be obtained or

depositions to be taken or discovery to be had or may

make such other order as is just.
“Beyond the procedural requirement of filing an affidavit, Rule

56(f) has been interpreted as requiring that a party making such a

filing indicate to the district court its need for discovery, what

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material facts it hopes to uncover, and why it has not previously
discovered the information.” Cacevic v. Citv of Hazel Park, 226
F.3d 483, 488 (6th Cir. 2000); see also Good v. Ohio Edison Co.,
149 F.3d 413, 422 (6th Cir. 1998); Plott v. General Motors Corp.,
71 F.3d 1190, 1196-97 (6th Cir. 1995). Moreover, the Sixth Circuit
has held. that, unless the nonmoving' party files a Rule 56(f)
affidavit, a district court cannot decline to consider the merits
of a summary judgment motion on the ground that it is premature.

Wallin v. NOrman, 317 F.Ed 558, 564 (6th Cir. 2003).

 

In this case, the parties have stipulated, for purposes
of this motion, to the following facts:3

l. Plaintiff met the Tennessee Board of Probation
and Parole (the “Board”) three times: in June 2001, when
he was declined for a year; in June 2002, when he was
declined for a year,- and in June 2003, when he was
declined for five years. On each appearance, plaintiff
scored “5” points on the “Risk Factor Scale” used by the
Board. Scores from 0 through 6 points are considered “Low
Risk,” and “[r]elease is suggested at first parole

 

3 The Court's task is complicated.by'plaintiff's failure to comply with
Local Rule 7.2(d)(2), which provides that,

[o]n every motion for summary judgment, in addition to citations to
appropriate legal authorities, the proponent of the motion shall
designate in the accompanying memorandum by serial numbering each
material fact upon which the proponent relies in support of the
motion and shall affix copies of the precise portions of the record
relied upon as evidence of each material fact. If the proponent
contends that the opponent of the motion cannot produce evidence to
create a genuine issue of material fact, the proponent shall affix
to the memorandum copies of the precise portions of the record
relied upon as evidence of such assertion.

In this case, the Court will assume, as did the defendants, that the plaintiff's
factual affidavit constitutes the functional equivalent of a statement of
undisputed facts. As will be discussed infra, however, the plaintiff has not
demonstrated that he is competent to testify to each of the factual statements
in that affidavit, and he also has not submitted admissible evidence in support
of those factual statements.

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hearing with a standard parole plan and standard
condition” [sic]. Affidavit in Support of Plaintiff's
Motion for Summary Judgment, dated Nov. 15, 2004 (“P.
Aff.”), q 2; Affidavit of C. Edward Scudder, Jr., sworn
to on Dec. 14, 2004 (“Scudder Aff.”), j 3.
lt is also apparently undisputed that the plaintiff is African
American and that he was convicted of first degree felony murder in
1979 and was sentenced to life imprisonment.4 For purposes of this
motion, plaintiff has also stipulated that he personally shot the
victim.

The information.presented.by the plaintiff, which largely
consists of his factual assertions and documents that have not been
authenticated, does not come close to demonstrating the absence of
a genuine issue of material fact in this case.5 Attached to the
plaintiff’s affidavit is an undated, two-page document, entitled
“LS-43: The Tennessee Board of Paroles,” which sets forth the

information in the plaintiff’s affidavit concerning the Risk Factor

Scale, as well as other matters. The plaintiff's affidavit does not

 

4 See Turks a[k[a Mujihadeen v. State, No. No. 02C01-9502-CR-00035,
1997 WL 1883 (Tenn. Crim. App. Jan. 3, 1997), perm. app. denied (Tenn. May 5,

1997) (affirming the denial of collateral relief).

5 The plaintiff's reliance on the defendants' motion to dismiss, which
had not been decided at the time this motion was filed, is misplaced. gee P. Aff.
nl 8-9. The fact that the defendants chose to file a motion to dismiss, rather
than an answer to the complaint, does not mean that the defendants have admitted
the allegations of the plaintiff's complaint. (The defendants subsequently failed
to answer the complaint after the Court denied the motion to dismiss, but the
plaintiff has raised that omission in connection with this motion.}

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refer to this document and, therefore, it cannot be considered as
it has not been authenticated.6

Likewise, other documents submitted in support of the
plaintiff's motion have not been authenticated and are not
explained in the plaintiff's affidavit. For example, attached to
the plaintiff's affidavit is a chart, entitled “Survey Affidavit
Data List of Black Prisoners Denied Parole for Seriousness of the
Offense, High Risk or Other Factors.” It is not clear who prepared
this chart and where the data reflected in the chart was obtained.
It also is not clear when the listed inmates were denied parole.7

The plaintiff's affidavit also cites several instances of
cases in which white inmates allegedly received more favorable
treatment than he, or other similarly situated African American
inmates, did. Again, however, the plaintiff has not established the
basis for his knowledge of these cases, and his assertions have
been contradicted. by the defendants’ affidavit. Moreover, the
plaintiff has not set forth the years in which those parole
decisions were made and the names of the individual defendants who

were responsible for each such decision.8

 

5 The Scudder Affidavit does not address the authenticity of that
document.

7 The Scudder Affidavit states that that document “is not a document

that was produced by the Board of Probation and Parole, therefore the Board
cannot validate its contents." Scudder Aff., I 7.

The two replies filed by the plaintiff ask that discovery be
permitted, which seems to be a concession that summary judgment for the plaintiff
is not appropriate at this time.

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Although the above discussion makes clear that the
plaintiff's summary judgment motion should be denied, it is
appropriate briefly' to address the evidence submitted by the
defendants in opposition to the plaintiff's motion. Paragraph 6 of
the Scudder Affidavit states in pertinent part as follows:

6. Research conducted on behalf of the Board of

Probation and Parole for a similar lawsuit against the
Board.alleging racial discrimination found the following:
Out of twenty-eight offenders, 9 white males were granted
parole while 7 white males were denied, and 7 black males
were granted parole while 5 black males were denied.
There were 16 white males and 12 black males. All of
these offenders were convicted of First Degree Murder or
Murder in Perpetration of a Felony, and most are former
death row inmates, whose sentences were commuted to life
after the death penalty statute of 1975-1976 was deemed
unconstitutional.
The defendants do not disclose the year or years covered by these
statistics, and it is not even clear whether the plaintiff is
included among the African American males in the survey. Thus,
although the information submitted by the defendants is sufficient
to defeat this summary judgment motion, defendants are cautioned

that the statistical evidence submitted to date is insufficient to

warrant a summary judgment for the defendants.9

 

9 Moreover, although the Scudder Affidavit asserts that “the offenders
to whom the plaintiff is comparing himself cannot be considered similarly
situated to him," Scudder Aff., l 6, the affidavit does not explain why that is
so. If it is, in fact, the defendants' position that “the Board cannot compare
one specific case to another due to the different factors, [sic] which may be
presented in each case,” id;, then it will eventually have to come forward with
very convincing statistical evidence demonstrating that the Board, in factl does
not discriminate on the basis of race in making its parole decisions for inmates
convicted of first degree murder. Moreoverr even if the statistical evidence is
compelling that the Board generally does not discriminate on the basis of race,
the plaintiff may be entitled to demonstrate that race played a role in his own
parole decisions. Defendants have not cited any legal authority for the

(continued...)

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For the reasons previously stated, the evidence submitted
by the defendants is sufficient to demonstrate that there are
disputed issues of material fact precluding a summary judgment for
the plaintiff. Accordingly, the Court DENIES the plaintiff's motion

for summary judgment.

IT rs so oRDERED this Z"/‘”l day of August, 2005.

 

ITED STATES DISTRICT JUDGE

 

9 (...continued)

proposition that it is always inappropriate to compare specific inmates, and that
suggestion seems contrary' to the law that has evolved in. other contexts,
including employment discrimination.

 

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This notice confirms a copy of the document docketed as number 97 in
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Kimberly J. Dean

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Asad El-Amin Mujihadeen
WTSP-Henning

862 l 7

P.O. Box 1050

Henning, TN 38041

Pamela S. Lorch

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Honorable Bernice Donald
US DISTRICT COURT

